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February 6, 2023

BY ELECTRONIC FILING

Marlene Dortch
Secretary
Federal Communications Commission
45 L Street NE
Washington, DC 20554

Re:      Applications to Transfer Control of TEGNA, Inc., to Standard General, L.P, MB
         Docket No. 22-162

Dear Ms. Dortch:

         DISH Network Corporation (“DISH”) responds to the January 20, 2023 letter submitted
by Cox Media Group (“Cox”) 1 in the above captioned-proceeding. In its letter, Cox again asks
the Commission to strike from the record the portion of a term sheet DISH received from Cox
demonstrating that Cox sought to increase retransmission consent fees for TEGNA stations after
consummation of the proposed transactions. 2 As proposed by Cox, those terms would have
superseded existing agreements between TEGNA and DISH and provided windfall profits to
Cox after consummation of the transactions. Indeed, DISH cited Cox’s attempts “to negotiate
for stations it does not yet own” 3 as a principal reason for the parties’ failure to reach an
agreement. That evidence is therefore directly relevant to the Commission’s review of this
transaction. DISH urges the Commission to deny Cox’s request to strike this submission from



1
 Letter from Michael D. Basile, Counsel for Cox, to Marlene Dortch, FCC, MB Docket No. 22-162 (Jan.
20, 2023) (“Cox Jan. 20, 2023 Letter”). As with Cox’s December 30, 2022 letter, portions of Cox’s
January 20 letter are redacted in the public version. DISH’s outside counsel has requested access to
Highly Confidential materials under the Protective Order in this proceeding. Cox and other applicants
objected to this request. See Joint Objection to Disclosure of Confidential and Highly Confidential
Information, MB Docket No. 22-162 (Jan. 3, 2023). DISH replied to those objections. See Letter from
Pantelis Michalopoulos, Counsel for DISH, to Marlene Dortch, FCC, MB Docket No. 22-162 (Jan. 6,
2023). DISH can only reply to the public version of the Cox January 20 letter in light of Cox’s
unreasonable position that DISH’s counsel cannot fully access Cox’s response. DISH counsel’s request
should be granted.
2
 See Letter from Pantelis Michalopoulos, Counsel for DISH, to Marlene Dortch, FCC, MB Docket No.
22-162, Exhibit 1, at 3-4 (Dec. 28, 2022).
3
 Press Release, DISH Network Corp., Cox Media Group Removes Local Channels From DISH TV
Customers (Nov. 28, 2022), https://dish.gcs-web.com/news-releases/news-release-details/cox-media-
group-removes-local-channels-dish-tv-customers.



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the record, and further reiterates the need for the conditions it proposed in its January 13, 2023
submission. 4

        Unlike Standard General, Cox has not proposed or otherwise assented to conditions
preventing it from immediately increasing retransmission consent fees or imposing other terms
through after-acquired station clauses. 5 And, despite its submission, Standard General’s
proposed conditions still do not obviate DISH and others’ concerns regarding the transaction,
such as an increased likelihood for blackouts, and the conditions are not bulletproof in their
current form. But Cox’s refusal to assent even to those conditions, combined with DISH’s
evidence of Cox seeking price increases for TEGNA’s stations, reveals Cox’s true motives.

        The Commission should not ignore the applicants’ apparent plan to orchestrate these
transactions to achieve price increases and impose other unwanted terms. The relevant
circumstances could not be more different than those at time of the Nexstar/Tribune merger: this
transaction presents evidence of the applicants’ calculating conduct (the gerrymandering of
station transfers in an apparent effort to maximize fees), evidence that was absent in the case of
the Nexstar transaction. A precedent distinguished based on changed facts is not a precedent
overruled. Nor are these important distinctions inconsistent in any way with the additional one
cited by ATVA—“commandeering” of a single station in an apparent effort to trigger an
automatic price increase for 97 other stations. 6 Indeed, this is precisely one choice example of
the pernicious orchestration that DISH has expressed concern about.

       As for the applicants’ attempt to achieve coterminous expirations, evidence available to
the Commission confirms such efforts harm the public interest. DISH has shown that an existing
blackout forces MVPDs to accede to higher-than-market rate demands for other companies’
broadcast stations that come up for renewal during the blackout. 7 Coterminous agreements thus
mean more stations at risk and higher consumer prices.

       The applicants also erroneously suggest that DISH supports the notion of separate
broadcast companies sharing information about their retransmission deals among themselves.
Nothing could be further from the truth, as even the most casual review of DISH’s comments
would confirm. Information sharing is the problem, not the solution. If, as seems apparent, the
applicants compared deals when negotiating with an eye to jettisoning the lower-priced ones, that

4
  Comments and Opposition of DISH Network Corp., MB Docket No. 22-162, at 6-8 (Jan. 13, 2023)
(“DISH Jan. 13 Comments”).
5
 See Letter from Soohyung Kim, Standard General, to Marlene Dortch, FCC, MB Docket No. 22-162
(Dec. 16, 2022).
6
  Letter from Michael Nilsson, ATVA Counsel, to Marlene Dortch, FCC, MB Docket No. 22-162, at 4
(Jan. 13, 2023).
7
 See Applications for Consent to Transfer Control of Tribune Media Company and Nexstar Media
Group, Inc., Petition to Deny of DISH Network Corp., MB Docket No. 19-30 (Mar. 18, 2019) (“DISH
Petition to Deny Nexstar/Tribune”); Reply of DISH Network Corp., MB Docket No. 19-30 (Apr. 9,
2019); Letter from Pantelis Michalopoulos, Counsel for DISH, to Marlene Dortch, FCC, MB Docket No.
19-30 (July 15, 2019), attaching Reply Declaration of William Zarakas and Jeremy Verlinda.



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is reason enough to condition approval on stopping that practice in future negotiations. Again,
there is no inconsistency with ATVA’s point that, post-transaction, the knowledge acquired by
the applicants as a fruit of the transaction would be used as a sword to the detriment of the public
unless appropriate conditions are imposed.

         Cox does not refute DISH’s evidence of Cox’s negotiating for TEGNA stations. Cox
states that DISH “fails to show how the CMG Proposal could apply to stations owned by
TEGNA,” because “the express terms of that proposal state that it would apply only to stations
currently owned by TEGNA if and when CMG acquires those stations.” 8 DISH of course
acknowledges that Cox has not yet acquired the TEGNA stations at issue. Cox’s January 20
letter ignores the fact that the stations it plans to acquire from TEGNA are already subject to an
asset purchase agreement. 9 DISH is not “pretending” that Cox’s proposal says anything other
than what it says. 10 DISH quoted the relevant section of the Cox term sheet verbatim. In fact,
Cox acknowledges DISH’s observation that its proposal is “[u]nlike a standard after-acquired
station clause,” 11 when it admits the proposal was indeed a “variation” on such clauses, and that
it was not in fact “commonplace” or “routine.” 12 This “variation” is precisely the section where
Cox (unusually) attempted to negotiate for stations it does not own. Because Cox cannot refute
the plain language of its own proposal, it again resorts to asking that it be stricken from the
record. 13 But the evidence is highly relevant to the Commission’s public interest analysis, and
provides all the more reason why Cox should not be singled out for more favorable treatment
than Standard General in conditioning any approval of this transaction.

        Cox has not refuted DISH’s evidence of Cox’s intent to increases prices. Cox has not
even attempted to refute the virtual certainty of it trying to hike prices upon consummation of the
transactions. The Applicants, for their part, have only responded to DISH and others’ evidence
of future price hikes with the meager statement that Standard General has waived its ability to
hike retransmission consent fees for TEGNA stations. 14 But since Cox has not made the same
commitment, Cox is free to do what it has apparently intended from the start—raise prices upon
consummation.




8
    Cox Jan. 20, 2023 Letter at 1.
9
 See Teton Merger Corp. and CMG Media Corp., Amended and Restated Asset Purchase Agreement
(Mar. 10, 2022); Teton Parent Corp. and CMG Farnsworth Television Operating Co., LLC, Asset
Purchase Agreement (Feb. 22, 2022).
10
     Cox Jan 20, 2023 Letter at 3.
11
     DISH Jan. 13 Comments at 10.
12
     Cox Jan. 20, 2023 Letter at 3, 4.
13
     Id. at 5.
 Applicants’ Joint Reply Comments, MB Docket No. 22-162, at 2, 6-7 (Jan. 20, 2023) (“Applicants’
14

Reply Comments”).



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        Nor does Cox’s aside that it recently reached retransmission consent agreements with
other MVPDs refute Cox’s intent to raise prices here. 15 Unlike the applicants, DISH is not aware
of the terms that Cox reaches with other MVPDs. DISH invites Cox to submit the terms of any
such agreements into the record (and if they are already in the record, withdraw its objection to
allowing DISH outside counsel to examine them).

         Evidence of Cox’s intended price increases shows public interest harm. Cox complains
that its term sheet “could [not] possibly be relevant to any issue under consideration in this
proceeding.” 16 But the term sheet is of course highly relevant to the Commission’s public
interest determination. Among other things, the Commission assesses the potential for
anticompetitive price increases as part of its review. 17 The Commission explained that “harm
[from retransmission consent price increases] exists only where an increase is not the product of
competitive marketplace considerations.” 18 Here, such a result would be the product of Cox’s
artificial manipulation of retransmission consent clauses. Evidence of Cox’s intent to do so is
thus relevant to the Commission’s review. Of course, there are different circumstances here than
the Commission considered in Nextstar. The applicants’ desire to artificially create coterminous
expiration dates that increase the pressure on MVPDs is itself a public interest harm: DISH has
also shown that an existing blackout forces DISH to accede to higher-than-market-rate demands
for other companies’ broadcast stations that come up for renewal during the blackout. 19 This
means that coterminous agreements translate into greater pressure for price increases, and they
also translate into the prospect that the distributor will have to succumb to these pressures or else
face much more extensive blackouts.

       DISH’s proposal is consistent with ATVA. Lastly, the Applicants contend DISH’s
proposal that the applicants be prevented from enforcing retransmission consent agreements to
achieve higher retransmission consent prices or impose other terms as a result of the transactions

15
     See Cox Jan. 20, 2023 Letter at 3.
16
     Id. at 4.
17
  See, e.g, Application of Verizon Communications Inc. & American Movil, S.A.B. De C.V. for Consent to
Transfer Control of International Section 214 Authorization, Memorandum Opinion and Order, 36 FCC
Rcd. 16994, 17006 ¶ 34 (2021) (“Horizontal transactions raise potential competitive concerns when the
combined entity post-merger has the incentive and the ability, either unilaterally or in coordination with
other service providers, to raise prices, lower quality, or otherwise harm competition in a relevant
market.”). See also Letter from Chairwoman Rosenworcel to Senator Warren at 1 (Jan. 18, 2023) (“[T[he
Media Bureau will carefully review the record and the supplemental information filings of the applicants
to determine whether the transfer is consistent with the public interest under Section 310(d) of the
Communications Act.”).
18
   Tribune Media Co. et al., Memorandum Opinion and Order, 34 FCC Rcd. 8436, 8451 ¶ 29 (2019)
(internal quotations omitted).
19
   DISH Petition to Deny Nexstar/Tribune at 7 (“If DISH has to renegotiate a contract with a broadcaster
at a time when it is subject to a blackout of another broadcast group’s stations, it is more likely to accede
to some of that first broadcaster’s demands to avoid a second blackout . . . an inability to retransmit a
station in one market increases the price DISH is willing to pay for the right to retransmit a station in
another market.”).



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“conflicts” with Altice’s and the ATVA’s theory of harm. 20 Not so. As Altice explained, “the
harmful action is within the transaction itself: the after-the-fact commandeering of an after-
acquired station clause by a party that did not negotiate it.” 21 In other words, Standard General,
by acquiring a single station from Cox, and 97 stations from TEGNA, will be able to apply the
retransmission consent rates of the single Cox station to all of the TEGNA stations. The same is
true of Cox’s proposed one-way-ratchet price increases for the TEGNA stations it acquires. This
maneuvering serves no purpose other than to raise prices and impose other anticompetitive terms
on MVPDs. The applicants state that ATVA and Altice object to Standard General paying a rate
it didn't negotiate for. 22 In reality, ATVA objects to Standard General instantly jacking up its
profits. All of the third-party commandeering identified by Altice and ATVA, DISH’s evidence
that Cox will raise prices, and the changes in circumstances since Nexstar point in the same
direction. 23 Further, it is not clear why Cox objects so strenuously to being included in the same
conditions that Standard General itself already agreed to.

        Nor is DISH’s proposal contrary to ATVA’s concern about information sharing among
the applicants. 24 Cox is conflating information sharing during merger or acquisition negotiations
with knowledge after the consummation of a merger or acquisition. The former is bad and
should be prohibited. The latter is also bad and the applicants should be prevented from
weaponizing their knowledge. Under DISH’s proposal, Cox would be prohibited from enforcing
a retransmission consent agreement between any applicant and an MVPD that would, by reason
of any of the transactions that may be approved in this proceeding, result in the retransmission
agreement applying to any station that is (immediately prior to the closing of such transaction) a
party to another retransmission agreement with the MVPD, and which would result in a higher
retransmission fee or more favorable terms for that station. There is nothing here inconsistent
with ATVA’s comments, which in relevant part focused on information acquired post-




20
     Applicants’ Reply Comments at 11-12.
21
  Letter from Cristina Chou, Altice, to Marlene Dortch, FCC, MB Docket No. 22-162, at 2 (Oct. 20,
2022).
22
   Applicants’ Reply Comments at 12 (“Altice and ATVA asserted that the sole reason the FCC could
deviate in this proceeding. . . is because this proceeding would have involved Standard General enforcing
a retransmission consent agreement assigned to it rather than one Standard General had itself
negotiated.”).
23
   The Applicants suggest that imposing merger conditions relating to retransmission consent agreements
is “beyond the Commission’s authority.” Applicants’ Joint Reply Comments at 12. That is false. The
Commission made clear that it has authority to condition transactions to stop retransmission consent fee
increases when such increases are “not the product of competitive marketplace considerations.” Tribune
Order, 34 FCC Rcd. at 8451 ¶ 29. If the Commission lacked authority over the terms of retransmission
consent agreements, then the conditions already accepted by Standard General in this proceeding would
be unenforceable.
24
     Applicants’ Reply Comments at 13.



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transaction by New Tegna, and proposed conditions to prevent misuse of that information. 25
DISH fully supports these conditions.

                                         *      *       *

       DISH presented evidence of Cox seeking to raise prices and impose other unfavorable
terms on MVPDs upon consummation of this transaction. That evidence is relevant to the
Commission’s public interest analysis of the transactions, and at minimum warrants subjecting
Cox to the same conditions already accepted by Standard General. The Commission should
deny Cox’s demand to strike DISH’s filing from the record for this reason. Further, the
Commission should impose the conditions previously proposed by DISH.



                                                     Respectfully submitted,

                                                     /s/ Pantelis Michalopoulos
                                                     Pantelis Michalopoulos
                                                     Counsel to DISH Network Corporation




25
  See Reply Comments of the American Television Alliance, MB Docket No. 22-162, at 11 (Aug. 1,
2022).



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